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EXHIBIT 108

PagelD #: 101217
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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHTO
BASTERN DIVISION

IN RE: NATIONAL
PRESCRIPTION
OPIATE LITIGATION

MDL No. 2804

Case No.
1:17-MD-2804

THIS DOCUMENT RELATES
TO ALL CASES

Hon. Dan A.
Polster

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THURSDAY, NOVEMBER 8, 2018

HIGHLY CONFIDENTIAL — SUBJECT TO FURTHER
CONFIDENTIALITY REVIEW

Videotaped deposition of Steven
Mills, held at the offices of BARTLIT BECK
HERMAN PALENCHAR & SCOTT LLP, 54 West
Hubbard, Suite 300, Chicago, Illinois,
commencing at 9:07 a.m., on the above date,
before Carrie A. Campbell, Registered
Diplomate Reporter and Certified Reaitime

Reporter.

GOLKOW LITIGATION SERVICES
877.370.3377 ph | 917.591.5672 fax
deps@golkow.com

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1 MR. ERB: And this is Chip Erb 1 epidemic developing in the United States’
2 with Cavitch, Familo & Durkin 2 A. FThave an understanding, yes.
3 representing Discount Dmg Mart. 3 Q. When did you first become aware
4 MR. WEEKS: Paul Weeks for 4 that there was an opioid epidemic developing
5 Allergan Finance. 5 in the United States?
6 MS. KLOCKENGA: Jodi Klockenga! 6 MR. HILL: Object to the form.
7 with Napoli Shkolnik. 7 THE WITNESS: 2012.
g MS. MITCHELL: Wendy Mitchell 8 QUESTIONS BY MR. SHKOLNIK:
9 with Napoli Shkolnik. 9 Q. So what happened in 2012 that
10 10 made you come to arealization that there was
11 STEVEN MILLS, 11  anopioid epidemic in the United States?
12 of lawful age, having been first duly sworn 12 A. There was a creation of the RX
13 to tell the truth, the whole truth and 13 integrity team, which I'm currently a member
14 nothing but the truth, deposes and says on 14 ~~ off.
15 behalf of the Plaintiffs, as follows: 15 Q. And prior to 2012, were you
16 16 involved in any capacity with prescription
17 DIRECT EXAMINATION 17 integrity at Walgreens?
18 QUESTIONS BY MR. SHKOLNIK: 18 . MR. HILL: Object to the form.
19 Q. Mr. Mills, my name is Hunter 19 THE WITNESS: No.
20 Shkolnik. I'm going to be asking you a 20 QUESTIONS BY MR. SHEROLNIK:
21 series of questions here today, but anytime 21 Q. Was prescription integrity a
22 you don't understand me, please let me know. | 22 new department that was developed at some
23 [have a tendency to sometimes 23 point in time at Walgreens while you were
24 talk fast. Usually by the time it starts 24 there?
25 affecting you, the court reporter usually 25 A. Yes.
Page il Page 13
1 throws something at me and stops me. Butif; 1 Q. So before the company developed
2 at any time I start going too fast, just tell 2 prescription integrity department -- withdraw
3 me to slow down. 3 that.
4 If you don't understand a 4 Was it called the prescription
5 question, let me know. J try my best, but 5 integrity department?
6 every once in a while I do ask a bad 6 A. Pharmaceutical integrity.
7 question. So if you don't understand it, 7 Q. Okay. Pharmaceutical integrity
8 just say. I'll rephrase the question. 8 department.
9 Okay? 9 Prior to the development of the
10 A. Okay. 10 pharmaceutical integrity department at
11 Q. And whenever there's a 11 Walgreens in 2012, was there any other
12 question, it has to be a verbal answer. A 12 department in existence at Walgreens that had
13 nod doesn't -- doesn't help. May show upon | 13 the same responsibilities as the now new
14 the video but not on the transcript. 14 pharmaceutical integrity group --
15 Okay? 15 MR. HILL: Object to the form.
16 A. Got it. 16 QUESTIONS BY MR. SHKOLNIK:
17 Q. Sir, you work for Walgreens at W Q.  - ot department?
18 the current time? 18 A. I don't know.
19 A. Ido. 13 Q. Did you do anything prior to
20 Q. And how long have you worked 20 2012 in terms of pharmaceutical --
21 ~~ for Walgreens? 21 pharmaceutical integrity work, the type
22 A. The past 13 years. 22 you're doing after 2012 prior to 2012?
23 Q. So over the 13 years you've 23 A. No.
24 been working at Walgreens, do you have an 24 Q. What type of work did you do
25 understanding that there was an opioid 25 before 2012?

4 (Pages 10 to 13)

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1 A. Prior to 2012, | was working in 1 Q. Like the co-op programs they

2 the pharmacy inventory sroup where we manage 2 had back then?

3 item vendor catalog setup so our stores can 3 A. I didn't take advantage of any

4 order product accordingly. Ifthe item's not 4 programs.

5 set up, then our stores don't have the 5 Q. So you've been with Walgreens

6 ability to order it per our ordering system. 6 ever since Northeasterm up until the present

7 Q. Was there any specific aspect 7 time?

8 of that job that dealt with opioids or 8 A, Yes.

9 — Class I, Class I pharmaceuticals? 9 Q. Now, going back to the issue of
10 A. Can you rephrase your question? 10 opioid epidemic, tell me what it was that
11 Q. Sure. 11 triggered in your mind that 2012 there was an
12 Was any aspect of your job 12 opioid epidemic in the United States,

13 prior to 2012 dealing with the distribution 13 MR. HILL: Object to the form.
14 of opioids? 14 THE WITNESS: Due to the
15 A. To answer your question, yes, I 15 information that was available around
16 would be responsible for setting up items to 16 the DEA visits to our Jupiter DCs
17 be available for ordering through our catalog 17 around opioid dispensing.
18 for opioids, C-II, C-III. I believe that's 18 QUESTIONS BY MR. SHKOLNIE:
19 — what you'ré asking. 19 Q. And other than the fact that
20 Q. Okay. Tell me what you did 20 the DEA came down on Walgreens through its
21 with respect to setting up and cataloging of 21 ‘Jupiter distribution facility, you had not
22 opioid, C-1, C-IL, drugs prior to 2012. 22 been aware that there was a problem with
23 A. So it would be logging into a 23 opioids in the United States and it was at
24 computer system, to a web UI, setting up the 24 — epidemic level before that?
25 NDC codes, setting up the UPC numbers and 25 MR. HILL: Object to the form.
Page 15 Page 17

1 then leading that into our ordering system so 1 Assumes facts,

2 stores would be able to get replenishment. 2 THE WITNESS: I don't know. It

3 Q. So it was a job that focused 3 wasn't part of my job responsibilities

4 more on the logistics aspect of the 4 prior.

5 pharmaceutical side of the company or just ~- 5 QUESTIONS BY MR. SHKEOLNIK:

6 withdraw that. 6 Q. Well, I mean, did people talk

7 So was your job dealing more 7 about it at Walgreens prior to 2012, there's

8 with logistics, making sure that product was 8  anopioid problem in the United States?

9 available and product could be shipped? 3 MR. HILL: Object to the form.
19 A. Nothing to do with product 10 THE WITNESS: I can't remember.
11 availability. 11 QUESTIONS BY MR. SHKOLNIK:

12 Q. Okay. 12 Q. Did you know any people that
13 A. Tt was more data entry and item 13 had suffered from the ill effects of opioids
14 maintenance. 14 prior to 20127

15 Q. What is your background in 15 A. No.

16 terms of education, sir? 16 Q. Prior to 2012, to your

17 A. Communications degree from 17 knowledge, did -- withdraw that.

18 Northeastern University. 18 Part of your job is suspicious

19 Q. And when you were at 19 — order monitoring work; am I correct?

20 Northeastern, did you work for Walgreens as | 20 MR. HILL: Object to the form.
21 part of any of the -- they have the work 21 THE WITNESS: That is 4 part of
22 study programs there. Did you start with 22 my job, yes.

23 Walgreens back then? 23 QUESTIONS BY MR. SHKOLNIK:

24 A. I started with Walgreens while 24 Q. Prior to 2012, had you ever

25 I was in college, yes. 25 _ heard of the phrase "suspicious order

5 (Pages 14 to 17)

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1 approved, someone in charge of inventory, the 1 MR. HILL: Same objections.
2 sales inventory of the company, was approving} 2 THE WITNESS: I don't know.
3 the bonuses for the sale of controlled 3. - QUESTIONS BY MR. SHEKOLNIKE:
4 substance pills at the pharmacy level; fair © 4 Q. Let's go down to the next
5 statement? 5 section on Exhibit 7.
6 MR. HILL: Same objections, and 6 Do you think it's a good idea
7 asked and answered. 7? to pay a bonus to a pharmacist to sell
8 THE WITNESS: I don't know. 8 prescription opioids?
39 QUESTIONS BY MR. SHKOLNIK: 9 MR. HILL: Same objections.
10 Q. Do you think it's right for a 10 THE WITNESS: I don't know.
“11 pharmacist to get a bonus based on how many | 11 QUESTIONS BY MR. SHKOLNIK:
12 opioid pills they distribute? 12 Q. Imean, we're not talking
13 MR. HILL: Object to the form. 13 Pampers. We're not talking household
14 THE WITNESS: I don't know. 14 products. We're talking addictive opioid
15 QUESTIONS BY MR. SHKOLNDIE: 15 pills.
16 Q. And you wouldn't like -- you 16 Do you think it's appropriate
17 = don't approve of that yourself, do you? 17 for a company to be paying the pharmacist a
18 MR. HILL: Same objections. 18 bonus for that by the pill?
19 QUESTIONS BY MR. SHEOLNIK: 19 MR. HILL: Asked and answered
20 Q. Forget about Walgreens. .20 many times.
21 = Yourself. 21 MR. SHKOLNIK: And it will be
22 Do you approve of the fact that 22 asked again.
23 ‘apharmacist would get a bonus on how many | 23 THE WITNESS: I don't know.
24 opioid pills they sell? 24 QUESTIONS BY MR. SHEOLNIK:
25 : MR. HILL: Same objections. 25 Q. Let's go to history of SOM
Page 17/1 Page 173
1 THE WITNESS: I don't know. 1 daily reporting.
. 2 QUESTIONS BY MR. SHKOLNIK: 2 "Beginning October 2012,
3 Q. We know there was an opioid 3 Cardinal Health has been providing a daily
4 epidemic at least in 2012, according to your 4 list of pharmacy orders that have triggered a
5 testimony, correct? 5  $OM event from the previous order day. The
6 MR. HILL: Object to the form. 6 SOM report is reviewed by RX inventory to
7 THE WITNESS: I was aware of an 7 identify any red-flagged Florida pharmacies
8. opioid epidemic. 8 blocked from ordering controlled substances.
9 QUESTIONS BY MR. SHKOLNIK: 9 Also identified are any large orders that the
10 Q. At that time? 10 system generated or manually keyed by the
11 A. At that time. 11 pharmacy that are not red-flag locations."
12 Q. And do you think getting a 12 First of all, do you know what
13 bonus on how many pills you could sell -- 13 ared flag means?
14 ~~ ~when I say "pills," opioids. Do you think 14 A. Red flag can mean anything.
15 the incentive of getting a bonus for how many | 15 Q. What did it mean in the sense
16 pills you sell may play a role in whether or 16 of SOM daily reporting when you took over
17 not you dispense the drug and try to get 17 — integrity in December of 2012?
18 overrides to get more of the. drug fo sell? 18 A. Ared flag could be an order
19 MR. HILL: Object to the form. 13 that was of interest,
20 Foundation. Asked and answered. 20 Q. Did you ever have any dealings
21 THE WITNESS: I don't know. 21 with Cardinal over their SOM policy and the
22 QUESTIONS BY MR. SHKOLNIK: 22 reporting to your company? :
23 ©. Human nature, isn't it? You 23 A. Can you rephrase that question?
24 sell more pills, you make more money. 24 Q. Yeah.
25 Wouldn't that be an incentive to many people? | 25 Did you ever have any

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1 interaction with Cardinal Health in 2012 when 1 would refresh your recollection as to what
2 you took over -- when you and Tasha took over 2 was done when you took over?
3. pharmacy integrity about what their process 3 I mean, it seems like you don't
4 was when they were receiving orders from your| 4 recall alot of this stuff. I'm just trying
5 stores? 5 ta figure out what I should be looking at.
6 A. [don't know any — I don't 6 MR. HILL: Object to the form.
7 bave any information on what Cardinal was 7 MR. SHKOLNIK: Till rephrase
8 doing. 8 it.
9 Q. Was Cardinal a distributor that 9 QUESTIONS BY MR. SHKOLNIK:
10 was being utilized by the stores at that 10 Q. Let's continue looking at this
11 ‘time? 11 document.
12 A. Yes, one of many. 12 It says, "Cardinal Health is
13 Q. If Cardinal was the 13 providing daily lists of pharmacy orders that
14 — distributor, was the order going through 14 have triggered SOM event from the previous
15 inventory -- inventory management? 15 order day."
16 MR. HILL: Object to the form. 16 Would that be maybe something
17 Foundation. 17 that refreshes your recollection that
18 QUESTIONS BY MR. SHKOLNIK: 18 Cardinal Health was actually distributing to
19 Q. In that time? 19 your pharmacies beginning in October 2012?
20 A. What time? I'm sorry. 29 MR. HILL: Object to the form.
21 Q. In the 2012 time frame before 21 THE WITNESS: They may have
22 you took over. 22 been dispense -- or distributing, but
23 MR. HILL: Same objections. 23 they ~ I can't speculate on the drugs
24 THE WITNESS: Were orders being 24 that were flagged.
25 transmitted to Cardinal; is that what 25
Page 175 Page 177
1 you're asking? 1 QUESTIONS BY MR. SHKOLNIK:
2 QUESTIONS BY MR. SHKOLNIK: 2 Q. Ob, so this is possibly not
3 Q. No. No. 3 related to opioids; is that the issue?
A If a store needed -- needed 4 A. Yes.
5 more opioids and they were utilizing Cardinal 5 Q. Well, it goes on to show —
6 Health as a distributor, would the order go 6 say -- I'm sorry, it goes on to say, "Also
7 through pharmacy management, or would it go 7 identified are any large orders that the
8 directly from store to Cardinal back then? 8 system generated, SIMS, or manually keyed by
9 MR. HILL: Same objections. 9 the pharmacy that are not red-flag
10 THE WITNESS: I can't recall. 10 locations."
11 QUESTIONS BY MR. SHKOLNIK: 11 Were you aware of red-flag
12 Q. Were stores receiving 12 locations in Florida or around the country
13 distribution from Cardinal and Walgreens 13 — when you took over?
14 ~— during the 2012 time frame? 14 A. Only the locations that were a
15 A. Tecan‘'t recall. 15 part of the seizure of the licensure in
16 Q. Could a store get multiple -- 16 Florida.
17 ~~ withdraw that. 1? Q. "SOM daily report is filtered
18 Could stores have multiple 18 to identify red-flag Florida stores. These
13 sources for opioids when you.took over the 19 orders are reviewed by RX inventory to
20 program? 20 — determine how they were generated."
21 MR. HILL: Object to the form. 21 Would that be an indication
22 THE WITNESS: I can't recall. 22 that these stores may have been requesting
23 QUESTIONS BY MR. SHKOLNIK: 23 fills or orders directly from Cardinal and
24 Q. Are there any documents 24 not going through inventory management?
25 anywhere that would help -- that you think 25 MR. HILL: Object to the form.

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